                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

  UNITED STATES OF AMERICA                            )
                                                      )
  v.                                                  )       No. 2:16-CR-00052-1-JRG-CRW
                                                      )
  BRADLEY JOE GROOMS                                  )

                           MEMORANDUM OPINION AND ORDER

         This matter is before the Court on Defendant Bradley Joe Grooms’ letter [Doc. 87], which

  the Court construes as a motion for compassionate release, and the United States’ Response in

  Opposition [Doc. 89]. Acting pro se, Mr. Grooms moves the Court to order his release from

  prison “under the cares act 18 U.S.C. § 3582(c)(1)(A)” and to allow him to serve the remainder

  of his sentence at his mother’s house, citing the COVID-19 pandemic. [Def.’s Mot. at 1].

         “[O]nce a court has imposed a sentence, it does not have the authority to change or

  modify that sentence unless such authority is expressly granted by statute.” United States v.

  Thompson, 714 F.3d 946, 948 (6th Cir. 2013) (quoting United States v. Curry, 606 F.3d 323,

  326 (6th Cir. 2010)). Although § 3582(c)(1)(A) begins with the declaration that “[t]he court

  may not modify a term of imprisonment once it has been imposed,” Congress enacted the First

  Step Act, Pub. L. No. 115-319, 132 Stat. 5194 (2018), which amended § 3582(c)(1)(A) so that

  courts can consider motions for compassionate release once a defendant either exhausts his

  administrative remedies with the Bureau of Prisons or waits thirty days after submitting a request

  to the warden:

         The court may not modify a term of imprisonment once it has been imposed except
         that . . . the court, upon motion of the Director of the Bureau of Prisons, or upon
         motion of the defendant after the defendant has fully exhausted all administrative
         rights to appeal a failure of the Bureau of Prisons to bring a motion on the
         defendant’s behalf or the lapse of 30 days from the receipt of such a request by the




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         warden of the defendant’s facility, whichever is earlier, may reduce the term of
         imprisonment[.]

  § 3582(c)(1)(A). The United States argues that Mr. Grooms has not shown that he has properly

  petitioned the warden of his facility for compassionate release, and the Court agrees.

         A few months ago, Mr. Grooms did in fact petition the warden for compassionate release

  but did so “based on the CARES Act,” not based on § 3582(c)(1)(A). [Warden’s Denial, Doc

  87-1, at 1]. The Court has no authority to order Mr. Grooms’ release under the Coronavirus Aid,

  Relief, and Economic Security Act (“CARES Act”), Pub. L. No. 116-136, 134 Stat. 281 (2020).

  United States v. Coker, No. 3:14-CR-085, 2020 WL 1877800, at *2 (E.D. Tenn. Apr. 15, 2020);

  see United States v. Read-Forbes, 454 F. Supp. 3d 1113, 1118 (D. Kan. 2020) (“While the

  CARES Act gives the BOP broad discretion to expand the use of home confinement during the

  COVID-19 pandemic, the Court lacks jurisdiction to order home detention under this provision.”

  (citing United States v. Engleson, No. 13-CR-340-3(RJS), 2020 WL 1821797, at *1 (S.D.N.Y.

  Apr. 10, 2020))).

         Because Mr. Grooms has failed to satisfy § 3582(c)(1)(A)’s exhaustion requirement, the

  Court is unable to consider his motion for compassionate release as this time. See United States

  v. Alam, 960 F.3d 831, 833–36 (6th Cir. 2020) (concluding that § 3582(c)(1)(A)’s exhaustion

  requirement is mandatory and that courts lack license to create a judge-made or an equitable

  exception to it). Mr. Grooms’ motion [Doc. 87] is therefore DENIED without prejudice.

         So ordered.

         ENTER:


                                                       s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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